                                   IN THE UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF VIRGINIA
                                        CHARLOTTESVILLE DIVISION

            CRIMINAL MINUTES – INITIAL APPEARANCE AND GUILTY PLEA HEARING
                              FOR CRIMINAL INFORMATION

Case No.: 4:18CR00036                                                   Date: 12/7/18

Defendant: Stevie Jermaine Johnson, Jr.                              Counsel: Jessica Phillips, David Eustis, CJA

TIME IN COURT: 10:36-11:40 56 minutes IA 20 mins/GP 36 mins
PRESENT:        JUDGE:              Michael F. Urbanski, CUSDJ
                Deputy Clerk:       Kristin Ayersman
                Court Reporter:     Sonia Ferris
                U. S. Attorney:     Ron Huber
                USPO:               Brittany Warren
                Case Agent:         none
                Interpreter:        none

PROCEEDINGS:

         Waiver of Indictment filed. (Only required for felony charges)
         Felony Information filed.
         Plea Agreement filed with court.
         Initial Appearance. Defendant(s) advised of charges, rights and nature of proceedings.
         Defendant advised of right to have U. S. District Judge accept plea. Defendant waives this right, and executes
         Consent to Allow U. S. Magistrate Judge to accept plea.
         Defendant arraigned as to Counts One.
         Defendant placed under oath. Court questions defendant regarding his/her physical and mental condition, and
         advises defendant of his/her rights, and the nature and possible consequences of plea.
         Court finds the defendant competent and capable of making a knowing and informed plea, and takes plea of guilty
         and plea agreement under advisement for a period of thirty (30) days. If dft wants to w/d plea/PA, then counsel to
         file a notice within that thirty days. If not, the Court will enter an order accepting the plea/PA and directing USPO
         to create a PSR.
         Guilty plea form executed and filed.
         Government summarizes evidence to support plea and rests; SOF filed with court.
         Court finds defendant guilty as charged in Counts enter counts to which defendant pled guilty.
         OR
         U. S. Magistrate Judge accepts plea of guilty to Counts enter counts to which defendant pled guilty and will
         recommend that the U. S. District Judge find the defendant guilty of said counts.

DEFENDANT PLEADS:
(list counts)


   DEF. #             GUILTY                 NOT GUILTY              NOLO                       REMARKS
              1
     1

     2

     3

     4




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         Court orders Presentence Report.
         Presentence Report not requested.
         Defendant placed on type and amount of bond. bond.
         Defendant remanded to custody.
         Sentencing hearing scheduled for before Judge Urbanski.

In addition to the standard conditions of release, the following special conditions of release are imposed:

         The defendant shall avoid contact outside the presence of his/her counsel with any alleged victims or potential
         witnesses regarding his/her case.
         The defendant shall report as directed by the probation officer, and shall promptly report any personal status changes
         to the probation officer: this shall include immediately reporting any contact by law enforcement officers regarding
         a criminal investigation or any additional criminal charges placed against the defendant; the defendant shall continue
         to reside at his/her current residence, and shall not change residences without first obtaining permission from the
         probation officer.
         The defendant shall abstain from the excessive OR any use of alcohol or any use or possession of any controlled
         substances unless prescribed by a licensed treating physician for a legitimate medical purpose.
         The defendant shall not possess a firearm or other dangerous weapon and shall reside in a residence free of such.
         The defendant shall submit to random drug and or alcohol testing as directed by the probation officer.
         The defendant shall not travel outside the Western District of Virginia without first obtaining permission from the
         probation officer.
         The defendant shall submit to warrantless search and seizure of his/her person and property as directed by the
         probation officer for the purpose of determining if he/she is in compliance with his/her conditions of pretrial release.
         The defendant shall actively seek and/or maintain employment.
         The defendant shall maintain or commence an education program.
         The defendant shall surrender his/her passport to the Probation Office to be held pending further order of the court;
         the defendant shall not apply to obtain a passport.
         The defendant shall not associate with any known users/possessors of illegal controlled substances and shall not be
         present in any location where illegal controlled substances are being used and/or distributed, unless approved by
         his/her supervising officer in cooperation with law enforcement officers.
         The defendant shall be placed on home detention subject to electronic monitoring and all residential absences must
         be approved in advance by the probation officer.
         The defendant shall continue in his/her current mental health OR substance abuse OR both counseling/treatment
         program at his/her own expense.
         The defendant shall allow the probation officer open communication with any treatment agencies or health care
         providers for the purpose of monitoring the defendant's compliance with all treatment requirements.
         Any animals on the premises of the defendant's residence must be restrained in a way so as to not interfere with the
         probation officer's access to the defendant's residence and to ensure the officer's safety.

         Defendant advised of penalties and sanctions for failure to appear and/or violating conditions of release.



Additional Information:




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